CaSe: 1:15-Cv-O7644 Document #: 113 Filed: 11/28/17 Page 1 of 2 Page|D #:1436

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRI CT OF ILLINOIS
EASTERN DIVISION

SELLERS CAPITAL, LLC, and
SELLERS CAPITAL MASTER
FUND, LTD.

Case NO. 15-cv-O7644

Plaintiffs,

v. Mag. Judge Jeffrey T. Gilbert

GEORGE WIGHT, ARMADA
GROUP, GP, INC. and ARMADA
ENTERPRISES, INC.

Defendants.

VVVVVVVV \-/V\_f`\-/\-/

FINAL JUDGMENT ORDER IN A CIVIL CASE
THIS CAUSE COl\/HNG to be heard on a motion for entry of final judgment

order following Defendants’ confession ofjudgment, Defendants having confessed to
judgment in the parties’ Settlement Agreement, the Court being fully advised in the
premises, lT lS HEREBY ORDERED THAT:

l. Defendants are found to be in default and to have breached the parties’
Settlement Agreement due to nonpayment of the First and Second Payments.

2. Defendants have failed to cure their default

3. For the reasons set forth in open court on November 28, 2017, final
judgment is hereby entered in favor of Sellers Capital, LLC and Sellers Capital
l\/laster Fund, Ltd. and against Defendants George Wight, Armada Group, GP, lno.,
and Armada Enterprises, Inc., jointly and severally, in the amount of $6,000,000.
Post-judgment interest accrues on this amount at the rate provided by law from the

date of this judgment

C__ase: 1:15-Cv-O7644 Document #: 113 Filed: 11/28/17 Page 2 of 2 Page|D #:1437

4. There being no further claims pending in this matter, this judgment is

final and enforceable according to laW.

  

ENTERED:

r((ZW[./] @//MW

/ f ../
/ effrey 'l`. Gilbert
United Stated Magistratc Juclge

 

